Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 1 of 12 PageID 1826
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 2 of 12 PageID 1827
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 3 of 12 PageID 1828
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 4 of 12 PageID 1829
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 5 of 12 PageID 1830
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 6 of 12 PageID 1831
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 7 of 12 PageID 1832
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 8 of 12 PageID 1833
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 9 of 12 PageID 1834
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 10 of 12 PageID 1835
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 11 of 12 PageID 1836
Case 6:12-cv-01095-GAP-T_S Document 180 Filed 05/20/21 Page 12 of 12 PageID 1837
